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EXHIBIT V

 

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2 IN THE uNITED sTATEs DISTRICT couri'r 3 W ITN ESS: JEAN LAW NICZAK
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3 4
4 5 M IN A T 1 0 N; M
Ji=_AN LAwNIczAi<. )
5 Per'sona`l Representative ) 6
of the Es'rATE oF JoHN )
6 DRLANDC), Deceased. ) c'i\/'H Action ,
)No_ 2:17_“_00185 7 Bv MR. BACHARACH. 4
7 P`|a'inti'Ff, ) 8
s §
VS.
) 9
9 ALLEGHENV couNTY, et a`|. )
3 10 Exi-iIBlTS: PAE
10 Defendant$. )
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2 4
1
2 DEPOSITION OF ]EAN LAWNICZAK. 1
3 aPlaintiffherein,ca||ed by the Defendants 2 PROCEEDIN §§
4 for examination,taken pursuant to the Federa| 3 _____
5 Ru|es ofCivi|Procedure,by and before
6 DianeG.Gaivin,acertified Professionai 4 EAN AWN
7 Rep°rterand N°tary Pub'ici"' and forma 5 aP|aintiffherein,having been first duly
8 Commonwealth ofPennsy|vania,at the A|legheny v __
9 County Law Department,445 Fort PittBou|evard, 6 sworn,was examined and testified as follows.
10 Suite BOD,Pittsburgh,Pennsy|vania,on Fric|ay, 7 EXAMINATION
1; January26,2018,at10:01a.m. 8 BYMR_BACHARACH:
13 §Q NSELERE§ENT: 9 Q. Cou|d youjust state yourfullname
10 forthe record, please.
14 For the Plairitiff: _
11 A. Mynameis Jean Lawniczak.
15 Law Offices ofJoe|Sansone 12 Q. Ms.Lawniczak,I'm John Bacharach
by" MA$$IMO A' TERZIGNI' EsQu'rRE 13 and I'm representing A||egheny County and the
16 ThreeGateway Center,Suite 1700
pittsburgh,pennsy\vania 15222 14 other defendants in the|awsuit that you filed.
17 (412)281-9194 15 I'm sure your attorney probably went
Terzi nim@ mail.COm
18 g g 16 overit,but]ustafew basic ground rules,the
FortheDefendants: 17 main one being,ifyou don‘t understand the
19 18 question thatlask,just let me know and I‘||
A|legheny County Law Department
20 by_. JOHNA_BACHARACH,ESQu_l-RE 19 either repeatitor rephrase lt. Yciu know,
300 FOF¥ Pittc°mm°n$ Building 20 this isa pretty informa|proceeding. Ifyou
21 445 Fort P'itt Bou|evard 21 f |t. d _ t tt t k a wa|k or
Pittsburgh,Pennsy|vania 15219 ee |re 'oryou Jus Wan o a e
22 (412)350-1150 22 do anything,just say so. We‘|ltakeabreak.
John.bacharach@alleghenycounty.us 23 Ifyou need to talk to youra.ct°rney
23
24 atany time,yciu know,you're free to do that.
24 """ 25 Ifthere'saquestion pending,you
25
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1 J. Lawniczak ~ by lVlr. Bacharach 1 J. Lawniczak - by l\/lr. Bacharach
2 should answer that question before you take a 2 married previously?
3 break, but other than that, it's entirely up to 3 A. ¥es, I was, to my son's father,
4 you. 4 John Orlando.
5 The other thing that's more 5 Q. And when was that ma rriage?
6 important for the court reporter than for me is 6 A. Oh, geez. If I got to go by
7 to answer the questions verbally. I mean, we 7 numbers.
8 all have a tendency to shake our heads or shrug 8 Q. Ballpark. I don't care an exact
9 our shoulders if we don't know or things along 9 date.
10 that line, but the court reporter has to take 10 A. My son was born in '75. I was
11 down what we say. 11 married two or three years before I had him.
12 Did you understand all of that? 12 Q. Okay.
13 A. Yes. 13 A. And then he was like four-and-a-half
14 Q. Are you taking any medication or is 14 when I split up with my husband.
15 there anything that's affecting you today that 15 Q. Do you have any children, any other
16 would prevent you from hearing the questions, 16 children?
17 remembering things or anything of that nature? 17 A. No.
18 A. No. 18 Q. John was your only child?
19 Q. I'll try to make this as brief as I 19 A. John is my only chi|d.
20 can and, you know, it's a bad situation, and 20 Q. Sorry.
21 I'll try not to make it any worse. 21 Now, when did you marry your current
22 Could you just tell me where you 22 husband, Mr. Lawniczak?
23 reside at the present time? 23 A. October 21, 1989.
24 A. Right now I live in Stanton Heights. 24 Q. So obviously, I presume John lived
25 My address is 1535 Simona Drive, Pittsburgh, PA 25 with you when he was a young child?
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6 8
1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by lVlr. Bacharach
2 15201. 2 A. ves, John -- he did.
3 Q. Do you live there with anyone else? 3 Q. And was there a period of time when
4 A. My husband, Ron. 4 he ~- at some point, did he move out of the
5 Q. Ron? 5 house?
6 A. Ronald, yes. 6 A. Yes.
7 Q. And what's his employment? 7 Q. Do you know about when, either his
8 A. He works for Alco Parking, Merril| 8 age or a year?
9 Stabi le 9 A. That's a hard one. I'm not sure.
10 Q. About how long has he worked for 10 Q. Has he lived With you; that is,
11 them 11 resided with you within the last ten years?
12 A. About 34 years. 12 A. No.
13 Q. Are you employed? 13 Q. And just within the last ten years,
14 A. I am. 14 where -~ what area was he residing in?
15 Q. By whom? 15 A. Etna, Sharpsburg.
16 A. I work for Heinz History Center on 16 Q. Was he living with anyone?
17 Smithfie|d and 12th. I' ve been there three 17 A. No. He had his own apartment.
18 y years. 18 Q. Did John graduate from high school?
19 Q. What do you do for them? 19 A. No, he didn't, but I told John if he
20 A. Housekeeping. 20 was going to be wanting to quit school that I
21 Q. It's a good place to work? 21 demanded that he go get a GED, which he did do.
22 A. ¥eah, not to clean though. It's a 22 He got a GED.
23 lot of cleaning. But it's nice. It's a 23 Q. What high school did he go to?
24 beautiful place. 24 A. Peabody. He went to Taylor
25 Q. I know you were -- well, you were 25 A|lderdice and to Peabody.
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1 J. Lawniczak - by l\/lr. Bacharach 1 J. Lawniczak - by lVlr. Bacharach
2 Q. And what year did he leave, tenth or 2 Q. Do you get to see E|ena very much?
3 eleventh grade, something like that? 3 A. Oh, yeah. \’es, I do.
4 A. Something like that, tenth or 4 Q. Where does -- E|ena, I presume,
5 eleventh grade, yes. 5 lives with Tiffany?
6 Q. But eventual|y, at some point in 6 A. Yes, she does.
7 time, he got his GED? 7 Q. Where do they live?
8 A. Yes. 8 A. They |ive, it's like considered
9 Q. After that? 9 Verona, Oakmont. I don't know the street
10 A. Right after that. 10 address off by heart.
11 Q. I'm sorry, I forgot -- what was your 11 Q. Do you know the street?
12 maiden name? 12 A. But it's reasonably close.
13 A. Swidowski. 13 I don't, because Tiffany moves a
14 Q. Could you spell it? 14 lot.
15 A. S-W-I-D-O-W-S-K~I. 15 Q. Do you know a telephone number for
16 Q. Thank you. 16 Tiffany?
17 A. ¥ou're welcome. 17 A. I do. I have it in my coat.
18 Q. After John left high school, was he 18 Q. Thanks.
19 employed? 19 A. Sure.
20 A. Yes, he was, just I can't quite 20 Q. Take your time.
21 remember what different jobs he had. Worked 21 A. Of course, I don't know it off by
22 for pizza places, would work like roofing, 22 heart.
23 landscaping, different odds and ends of jobs. 23 Q. Nobody knows any phone numbers
24 Q. Were these all short-term jobs, a 24 anymore.
25 few weeks or months or so? 25 A. I always knew my mom's.
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10 12
1 J. Lawniczak - by l\/lr. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 A. Pretty much so, I believe because of 2 Q. Well, actually, I still know that
3 John's mental health issues. 3 one.
4 Q. What, the jobs just didn't last? 4 A. I turned my phone off because I
5 A. Didn't last, right. 5 thought --
6 Q. I note John has at least one child, 6 Q. That's all right.
7 correct? 7 A. Not that I'm that busy of a person,
8 A. He does. 8 but I did not want it to ring.
9 Q. Is it just one? 9 Q. Don't worry about it.
10 A. Yes. 10 A. I have the little old flip-top
11 Q. And what's her name? 11 phone.
12 A. Her name is E|ena, E-L»~E-N-A. 12 Q. That's fine.
13 Q. And what's the mother's name? 13 A. And I know it's 412-290 but that's
14 A. Tiffany. 14 all I remember.
15 Q. And what's her last name, do you 15 Tiffany's telephone number is
16 know? 16 (412) 290-6203.
17 A. Coxon. 17 Q. To your knowledge, is Tiffany
18 Q. Is that C-O-X-O-N? 18 employed?
19 A. Ves. And she prefers E|ena's name 19 A. No. At the current time, no.
20 to be E|ena Coxon Orlando. 20 Q. I saw another name that's a
21 Q. Okay. 21 Renee Rush. Do you know who Renee Rush is?
22 A. And that's what her name is. 22 A. I do know who she is. She was a
23 Q. How long is E|ena? 23 girl that said that Johnny was the father of
24 A. E|ena is nine years o|d. She was 24 her child years ago, and she named him John
25 nine on the 9th of December. Born in 2008. 25 Louis, which my son's name is John Louis. But

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1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by lVlr. Bacharach
2 I guess welfare took her mother and I, because 2 chronic physical health conditions?
3 she was 16 at the time, maybe 15, and -- to 3 A. Physical, no.
4 explain, long story short, they did blood 4 Q. Was he taking any medications that
5 tests. 5 you're aware of?
6 Q. Paternity? 6 A. Before he passed away?
7 A. Paternity tests, yes, and Johnny was 7 Q. Yes, ma'am.
8 not the father. The baby was biracial, not 8 A. Yes. He was taking a few different
9 that that means anything. 9 psych meds, yes.
10 Q. Was John ever married? 10 Q. So as far as you know that his
11 A. No. 11 physical -- he didn't have any significant
12 Q. Was John ever in the military? 12 physical health problems, but he did have some
13 A. No. 13 mental health problem; is that right?
14 Q. Do you know whether John had an 14 A. That's right.
15 order to pay support for E|ena? 15 Q. What were the mental health problems
16 A. Right before John passed away -- no, 16 that he had as you understand it?
17 John passed away. Something came in the mail 17 A. Depression, mood swings.
18 and it was papers for support, but John paid 18 Q. When did those first appear?
19 support every month on his own, out of his 19 A. I would say probably like when he
20 pocket. And I used to say to -- my husband and 20 was 20 years old.
21 1 would say to John, you should get her to sign 21 Q. Was there anything that you're aware
22 something because, you know, if she would go to 22 of that precipitated those problems? I mean,
23 court, because he did give her $200 a month for 23 some tragic event in his life, for example, or
24 E|ena. Never missed a beat from when she was 24 traumatic event in his life?
25 born. 25 A. No.
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14 16
1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by l\/lr. Bacharach
2 Q. Did he pay that in cash or by check? 2 Q. Was he being treated by any
3 A. In cash. 3 physicians or psychiatrists or psychologists?
4 Q. If he wasn't working, where would he 4 A. ¥es, yes.
5 get the money? 5 Q. Do you know who they are?
6 A. John received SSI. 6 A. He had a few different ones. I
7 Q. So he was getting Social Security 7 would venture to say the most recent one, I
8 Disability? 8 believe her name was Michele Maloy. She was
9 A. Yes. 9 |ocated, her office, on the North Side.
10 Q. When did he start getting Social 10 Q. He had health insurance coverage
11 Security Disability? 11 through Medicaid or --
12 A. I don't remember. I mean, I 12 A. Uh-huh.
13 couldn't give you a date as to when. 13 Q. But she was, Ms. Maloy was the most
14 Q. Okay. I‘m not necessarily looking 14 recent person that he was seeing?
15 for a date. I mean, was it more than ten years 15 A. Yes.
16 ago, within the last five, if you know? 16 Q. But he had seen other people prior
17 A. I'd say at least ten years ago, yes. 17 to that?
18 Q. Did he have an attorney to assist 18 A. Yes.
19 him in getting Social Security Disability? 19 Q. Do you know how often he would see
20 A. Not that I know of. 20 someone for treatment?
21 Q. Did John have a physical health 21 A. At least once a month.
22 problem? I'm not talking about, you know, 22 Q. Was he pretty regular?
23 getting a cold or something like that or, you 23 A. Yes. He would go. He would want to
24 know, getting a couple stitches because he fell 24 go, talk.
25 one time. But, I meant, any longer term 25 Q. Other than Ms. Maloy, can you

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1 J. Lawniczak - by |\/lr. Bacharach 1 J. Lawniczak - by |V|r. Bacharach
2 remember, just off the top, anybody else that 2 place, is that how --
3 he saw for mental health treatment? 3 A. Or I stop at his, uh-huh.
4 A. No. 4 Q. Prior to the March 29 incident, had
5 Q. Is Ms. -- I'm sorry. 5 John ever, to your knowledge, attempted to
6 A. That I can remember offhand, no. 6 injure himself?
7 Q. Is Ms. Maloy, do you know if she's a 7 A. Yes.
8 therapist? A psychiatrist? A psychologist? 8 Q. How often had that happened?
9 Do you know? 9 A. It didn't happen often. It wasn't
10 A. I think she's a psychologist. 10 often.
11 Q. Had John ever been hospitaiized for 11 Q. Did it happen more than once?
12 any mental health condition? 12 A. I believe it happened twice.
13 A. ¥es. 13 Q. Can you give me an idea of when
14 Q. Do you know how often? 14 those events happened?
15 A. That's a hard call, because it would 15 A. The one time when he went into the
16 be different. Like no, I -- I don't recall how 16 hospital to get help at Western Psych, he did
17 often per se. 17 it at the hospital. And I was there and I knew
18 Q. Was it more than once, though? 18 it was happening. I was in the room when he
19 A. It was a couple of times, yes. 19 was getting registered, and he went in the
20 Q. Do you know which hospitals he was 20 bathroom. And I said to the guards, I said,
21 seen? 21 "He's taking too long in there. Go see if he's
22 A. Western Psych. 22 all right. He's taking too long in there."
23 Q. When he was there, do you know about 23 They went in and he was hanging hisse|f. And
24 how long he was there? 24 they pushed me out of the bathroom, out of the
25 A. Like a couple weeks. 25 room.
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18 20
1 J. Lawniczak - by |V|r. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 Q. Do you have an idea of when the last 2 Q. If you want to take a break or
3 time he was actua||y hospitalized? 3 something, you know, feel free. You know, it's
4 A. It would be a good couple of years. 4 -- like I said, we‘re not in a race here.
5 Q. In the last, just say the last 5 A. I know.
6 couple years before this happened, could you 6 Q. Just let me know, a|| right?
7 give me an estimate of how often you would see 7 A. I'm all right.
8 him? 8 Q. I know there‘s no good way t0 talk
9 A. Dai|y. 9 about this stuff, and I apologize.
10 Q. You saw him daily? 10 A. No.
11 A. Oh, yeah. Talked to him every 11 Q. When did that event happen,
12 night. I was exceptionally close with my son. 12 approximately?
13 That's why this is all so hard. And I try to 13 A. I'm not sure. I'd say, venture to
14 accept -- it's not going to go away. I miss 14 say maybe five, six years ago.
15 him so much, I couldn't even tell you. But 15 Q. So he was trying to get himself
16 John and I were very close, very close. 16 admitted into Western Psych, went into the
17 Q. That's good. It doesn't often -- 17 bathroom and was -- when the guards went in
18 frequently doesn't work that way with -- 18 after you talked to them, he was doing
19 A. I didn't see him everyday, but I 19 something to attempt to hang himse|f?
20 talked to him every day. I'd see him like 20 A. ¥es.
21 twice, a couple times a week. 21 Q. Was he hospitalized? I mean, were
22 Q. So talked to him almost every day 22 there any physical injuries at that time that
23 and see him around a couple times a week? 23 required him to be hospitalized?
24 A. Ves. 24 A. No, psychological.
25 Q. He would usually stop over to your 25 Q. So it hadn't, his attempt hadn't
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1 J. Lawniczak - by lVlr. Bacharach 1 J. Lawniczak ~ by Mr. Bacharach
2 gone to the point where he had physically 2 hurt himself? Did he ever say anything like
3 injured himse|f? 3 that to you, you know, that "I'm going to hurt
4 A. No. 4 myself," "I'm going to kill myself," or
5 Q. And you said there was another 5 anything like that? Did he ever say that to
6 incident. Was that before this, this incident? 6 you?
7 A. Ves. 7 A. He'd tell me he didn't want to live
8 Q. What happened there? 8 no more sometimes.
9 A. He was trying to think of -- he 9 Q. How often would that happen?
10 was -- the situation was that he was on the 10 A. Not often.
11 street fighting or something I remember, and he 11 Q. And again, without guessing, I'm not
12 put a plastic bag on his head. 12 asking you to guess, is it something when you
13 Q. Was this in the -- 13 say "not often," like once a year, once every
14 A. That was when he first started 14 five years, is there some --
15 getting treatment for mental health issues. 15 A. Once every five years. Like I say,
16 Q. How did you find out that had 16 it wasn't often.
17 happened? 17 Q. Was there something that you think
18 A. It so happened that the police 18 precipitated him saying that?
19 officer that came to there was my husband's 19 A. I'm sure there was, something inside
20 father, and he called my husband. 20 his head. You know, he'd get depressed and
21 Q. What was his name? 21 overwhelmed, like we all do. It just we know
22 A. Art Lawniczak. 22 how to handle things differently than someone
23 Q. Is Art, is he still living in that 23 with mental health issues does.
24 area? 24 Q. But there wasn't some specific event
25 A. Yes, he's still living. 25 that would prompt him to do that --
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22 24
1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 Q. I presume he's retired now? 2 A. No.
3 A. Oh, yeah. Long time. 3 Q. -- that you're aware of?
4 Q. And I‘m sorry. He was a police 4 A. That I'm aware of, no.
5 officer? 5 Q. And I'm thinking of something, for
6 A. Yes. 6 example, like I've seen it. He had a number of
7 Q. In? 7 arrests and so forth.
8 A. Pittsburgh, Number 5 Police Station 8 A. Uh-huh.
9 in East Liberty. 9 Q. But that wasn't something that, in
10 Q. So that incident happened in the 10 and of itself, would precipitate it or was it?
11 City of Pittsburgh? 11 A. No.
12 A. Yes. 12 Q. There's some indication in the
13 Q. Do you know, where there any -- did 13 records that John said at the time that he used
14 they take him to the hospital? 14 or was addicted to some illegal drugs,
15 A. Oh, yes. They did. They took him 15 non-prescription drugs, I should say, Is that
16 to the hospital. 16 something you had some awareness of?
17 Q. Do you know which one? Western 17 A. ¥es.
18 Psych? 18 Q. Do you know how long that problem
19 A. Western Psych. 19 existed?
20 Q. Were there any other incidents that 20 A. No.
21 you can think of, that you're aware of, where 21 Q. Was it more than -- was it ten years
22 John tried to injure himself? 22 or more than ten years?
23 A. No. 23 A. It was probably more than ten years.
24 Q. Did he ever -- this is hard, but did 24 Q. Do you have any idea what illegal
25 he ever say anything to you about intending to 25 drugs he was using aside from the prescription

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27

 

 

1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by lVlr. Bacharach
2 drugs? 2 not do that and sort of, for want of a better
3 A. Well, it usually stems from 3 term, fall ohc the wagon and not get any
4 prescription drugs, painki|lers to heroin. He 4 treatment and so forth?
5 used heroin. 5 A. Sure. Veah. He'd get discouraged,
6 Q. Were you aware that he ever used, 6 and I guess with his mental health issues, his
7 for example, something like methamphetamine? 7 mind would take over, and think things aren't
8 A. No, he never used that. He never 8 going to get any better and, you know.
9 used that. He was, how should I say, that 9 Q. Do you know what treatment, if any,
10 would be a speed thing. He -- no, he never 10 he got within a year prior to March of 2016?
11 used that. 11 A. Treatment, no.
12 Q. So your understanding is the drugs 12 Q. Do you know, was he getting
13 he used were more opioid~type depressants? 13 treatment during that period of time, any
14 A. Yes. 14 treatment to your knowledge?
15 Q. As opposed to the ones that get you 15 A. To my knowledge, no.
16 excited, for want of a better term? 16 Q. He was, I guess -- the arrest that
17 A. Yes. 17 put him in the A|legheny County Jail, had you
18 Q. Did he ever seek any treatment 18 seen him, you know, around that time, within a
19 for -- 19 few days of that?
20 A. Oh, yes. Yes, he did. And then 20 A. Uh-huh.
21 he'd go to meetings sometimes. I mean, he 21 Q. How was he then?
22 wanted to live a good life, a clean life. John 22 A. Fine.
23 was a good person. 23 Q. He didn't seem unusually depressed
24 Of course I'm going to sound 24 or anything?
25 prejudiced because I'm his mother, but he was a 25 A. No, because he was on his meds. He
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26 28
1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 good man. He'd -- would help anyone out and 2 was taking his medication.
3 take food out of his refrigerator, out of his 3 Q. So that was sort of the, if he took
4 mouth. I mean -- all right, don't go into 4 his meds it was he ~-
5 Lent, but John -- John was a good person. He 5 A. He'd do pretty good.
6 would help anybody. He was a good man. 6 Q. -- would be okay?
7 Q. But he did seek treatment on a 7 A. Uh-huh.
8 number of occasions? 8 Q. And if he didn‘t, he might -- he
9 A. Yes. 9 regressed, correct?
10 Q. Do you know any of the places where 10 A. Yes. Sometimes, yes.
11 he, and I'm not necessarily going to go back 11 Q. But you think at least -- strike
12 ten years, but say within the last five years 12 that.
13 where he had sought any treatment? 13 When was it -- do you remember when
14 A. He went away one time. I don't know 14 the last time you would have actually
15 if it was Cove Forge. I think it was Cove 15 physically seen John prior to him being
16 Forge. 16 arrested in March of '16?
17 Q. Okay. 17 A. That was on a Thursday, right? Or a
18 A. But I'm not sure quite when. 18 Wednesday?
19 Q. Was any of the treatment inpatient 19 Monday, because we always got
20 treatment? 20 together every Monday. That was my day off.
21 A. Yes, he stayed there. 21 Q. Okay.
22 Q. And you indicated also go to AA 22 A. Taking him shopping or go get
23 meetings? 23 something to eat.
24 A. Uh-huh. 24 Q. But he seemed in pretty good spirits
25 Q. Were there times when he would just 25 and so forth when you last saw him?
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1 J. Lawniczak - by lVlr. Bacharach 1 J. Lawniczak - by lVlr. Bacharach
2 A. Uh-huh. Yes, he did. 2 A. "I can't take it in here, Mom. I'm
3 Q. Did you physically, did you go down 3 not going to make it in here, Mom."
4 and visit him physically when he was in the 4 Q. Did he specify particularly what was
5 A|legheny County Jai| in March of 2016? Did 5 bothering him, why he couldn't take it?
6 you ever go down? 6 A. Well, being tasered in the throat
7 A. No, because they picked him up on 7 would be one of them, you know, when you're
8 a -- I don't know if it was a Wednesday or a 8 already going through a lot of things in your
9 Thursday, and he did that on a Tuesday. And I 9 head, hardly able to speak.
10 was in the process of trying -- I told him, 10 Q. Did he tell you he had been tasered?
11 with our phone conversations, contacting bail 11 A. Yes, he was tasered by a guard
12 bondsman, trying to get that together, but I 12 there, a guard that said some rotten things to
13 worked every day too. 13 him. So, in turn, John went toward him and he
14 Q. I gather you did speak to him on the 14 tasered him in the throat.
15 phone? 15 Q. Do you know the name of the guard?
16 A. Yes. 16 Did he tell you?
17 Q. About how many times? 17 A. DiPaul.
18 A. I'm not sure. 18 Q. And when did he tell you that? I
19 Q. Do you remember what he said? 19 mean, in terms of when he got to the jall, was
20 A. That he couldn't take it in there. 20 that the first call? The last call? Anything
21 They didn't have him on medication. I mean, I 21 like that?
22 don't know how long you have to be there before 22 A. Probably the second ca|l.
23 they put you on your meds, your psych meds, 23 Q. Other than the taser incident, did
24 whatnot, but okay. 24 he tell you anybody else was mistreating him
25 How often did I talk to him, was 25 there?
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30 32
1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by l\/lr. Bacharach
2 that the question you asked me? 2 A. No.
3 Q. Yes, Well, it was how often did you 3 Q. You know, I have access to the
4 talk to him. That's the first question. 4 records at the jail, and I can see that -- I
5 A. Probably three or four times. 5 mean, John was there a lot of different
6 Q. And again, what do you recall him 6 times --
7 telling you? You said he couldn't take it. 7 A. Uh-huh.
8 A. I told him I was working on getting 8 Q. -- although mostly it seems for
9 him out, you know, that he had to wait for -- 9 relatively short periods of time, a few days or
10 who are those people called in there? 10 a week?
11 Q. Behavior C|inic. 11 A. For petty things too. Also nothing
12 A. Behavior Clinic person to see him 12 major, terroristic threats. He was drunk
13 before I could get him out, and I just kept 13 Downtown with a buddy, throwing a garbage can
14 trying to keep him, you know, "¥ou're going to 14 and arguing, terroristic threat.
15 get out, John. It's just, you know, they have 15 Q. Yeah, but it seems |ike, just
16 to -- you have to see the Behavior Health 16 looking through, there was -- like the first
17 person first." And he let me know, you know, 17 one I saw was 1996 or 1997. That was actually
18 if he was being moved to like a -- he told me 18 the terroristic threats one.
19 they were taking him up to 5-F, the floor where 19 A. Uh-huh.
20 you're to be watched. 20 Q. And then there were some other. It
21 Q. Did he ever say to you that he was 21 was ‘97. These are rough dates, date, '99,
22 going to injure himself or hurt himself? 22 2000.
23 A. Yes. 23 A. Can you tell me what they were -- I
24 Q. As best you can recal|, what did he 24 mean, you know, when you're naming the years --
25 say? 25 Q. Sure I can tell you some.
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1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by |Vlr. Bacharach
2 A. -- what the charge was? 2 his mental health issues, he was on the floor
3 Q. And these dates are -- I'm just 3 5-D, the mental health floor.
4 going by docket numbers, but the event may have 4 Q. Uh-huh.
5 taken place -- 5 A. Whereas they did watch him then, I
6 A. Okay. 6 guess.
7 Q. Was '97 was, I know happened in '96 7 Q. Okay. I saw sometimes, he
8 was the terroristic threats. 8 occasionally was. But as far as -- but he had
9 A. Uh-huh. 9 never actually in the prior times attempted to
10 Q. Another '97, it was a DUI and a 10 injure himself, to the best of your knowledge?
11 disorderly conduct. '99 there was a 11 A. No. To the best of my knowledge,
12 possession, a drug possession charge. 2001, 12 no.
13 again, it was possession of an instrument of a 13 Q. Did he ever say that to you, that he
14 crime, criminal mischief-type case. 2004 there 14 was going to do that when he was in the jail
15 was a burglary, criminal conspiracy. I'm not 15 during any of those prior occasions?
16 even -- some of these -- I'm not saying all 16 A. No.
17 these charges were resulted in conviction, but 17 Q. Just a few more questions. We're
18 that's -- I'm telling you what the initial 18 almost done.
19 charges were. 19 While John was in the
20 A. Okay. 20 A|legheny County Jail in March of '16, or after
21 Q. Then 2005 it was another possession 21 he passed away, during that period of time, did
22 of a controlled substance, drugs, and 2007 was 22 you ever speak to anyone at the
23 terroristic threats, recklessly endangering. 23 A|legheny County Jail who you believe was
24 You know, it seemed like there were a whole 24 associated with A|legheny County regarding what
25 bunch in that period, and then there's like a 25 had happened with John?
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34 36
1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 six or seven year gap after that where nothing 2 A. Yeah, a few people called me the day
3 happened. I don't see anything. And then 2014 3 he died -- not died -- he died in the hospital.
4 there's another one, relatively minor. It's a 4 Q. Yes.
5 DC, disorderly conduct and drug possession. 5 A. The day that that happened, I was at
6 There's actually two in that year. 6 work and I don't get home until 3 o'c|ock. And
7 And it seemed like there was this 7 when I come home, there was a number of phone
8 period of time of six or seven years when 8 calls, the Behavioral Health guy, Deputy
9 nothing happened. Was there something that was 9 Wainwright, the chaplain or something.
10 going on then, I mean, that you're aware of or 10 Q. Uh-huh.
11 why that would have occurred? 11 A. There was a few phones that day but,
12 A. No, not that I'm aware of. 12 you know, they all went to my voicemail. And
13 Q. It just -- Ijust noticed that sort 13 when I come home, of course, it was too late.
14 of big gap there. 14 You know, it was -- to try to get ahold, and I
15 A. Uh-huh. 15 kept trying to call and call and get aho|d of
16 Q. I didn‘t know whether he was like 16 people all night.
17 hospitalized or -- was he ever out of the 17 It was so hard to get in to see him.
18 county or the state for any extended period? 18 The next day when he was in the hospital, they
19 A. Just that one time when he went to 19 had a sheriff, like he was this big time
20 Cove Forge. 20 crimina|. They had sheriffs on him, and I had
21 Q. The other times that he had been in 21 to wait for him to be cleared -- for it to be
22 jail, to the best of your knowledge, did he 22 cleared for me to get in to see him, because I
23 ever attempt to injure himself or harm himself? 23 knew it was bad, and I knew he was bad. But I
24 A. No. Well, he -- if you'll be able 24 still, subconsciously in my head, I thought he
25 to look and see yourself, a couple times with 25 was going to be okay, that, you know, it would
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1 J. Lawniczak - by Mr. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 be spend a lot of time in the hospital, but 2 rumors but, I mean, if somebody who you think
3 he'd get over -- come out of it and that, until 3 has some actual knowledge of what takes place
4 I knew that -- until they told me he was 4 at the jail, have you spoken to anyone like
5 brain-dead. 5 that?
6 And there, see how I went that far 6 A. I haven't personally, no.
7 off to answer whatever I was going to say. 7 Q. Other than what we‘ve talked about
8 Q. Don't worry about it. 8 here today, do you have any knowledge related
9 A. But the next clay then, I did speak 9 to what happened to John in March of 2016? And
10 to Deputy Wainwright. And he did -- he's a 10 I'm excluding anything that your attorneys may
11 soft-spoken guy. I mean, that's what I 11 have said to you. But other than what your
12 remembered, that his voice was soft-spoken. 12 attorneys have told you, is there anything that
13 And he stated to me -- well, so many words, 13 you know about what happened to John and what
14 term, however, apparently we don't have -- we 14 caused his death that we haven't talked about?
15 wish we had more help than what we have, 15 A. No. My whole thing is that I don't
16 because I said to him, "Wait a minute. He was 16 believe they were checking on him like they
17 on 5. How could something like that happen?" 17 said they were, because you can't do it that
18 And he pretty much stated that, and I'm under 18 quick. I mean, that's my opinion.
19 oath and I'm telling the truth -- I would never 19 See, I have mixed emotions, sad,
20 lie anyway, stated that, you know, not having 20 angry, you know. No disrespect to you, but
21 enough help there, manpower. 21 it's just...
22 Q. Just as close as you can, can you 22 Q. Believe me, I -~
23 just tell me what you recall he said in his 23 A. I don't believe.
24 words about that? If that's the best you can 24 Q. I can't really appreciate what
25 do, that's fine. 25 you're going through.
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38 40
1 J. Lawniczak - by lVlr. Bacharach 1 J. Lawniczak - by Mr. Bacharach
2 A. "I'm sorry for your loss. John hung 2 A. Do you have children?
3 hisse|f." I said, "Well, how could that 3 Q. l do. That's what I'm saying. I
4 happen? You know, you're supposed to be 4 can't really, you know, but that's not the kind
5 watching him." And he said something to the 5 of thing --
6 terms, "Well apparently," you know, "we wish we 6 A. It's horrific, horrific, horrific
7 had more manpower than what we do." That's all 7 when it's your child, because no matter what, a
8 I remember. 8 grown man, whatnot, it's your child.
9 Q. Did he call you? 9 Q. I agree.
10 A. Yeah, he called me back because I 10 A. I miss him so much.
11 kept calling, and calling. 11 MR. BACHARACH: I think I'm
12 Q. Other than actually speaking with 12 done. Just give me one second. `
13 the deputy warden, did you speak to anyone else 13 MR. TERZIGNI: Okay. No
14 that you think was associated with the jail 14 problem.
15 about this incident? 15 (Short break.)
16 A. No. 16 MR. BACHARACH: I don't have
17 Q. Other than people who work at the 17 any other questions. Thank you. I thank you
18 jail, are you aware of any one who has any 18 for coming down. Again, I apologize. I know
19 knowledge about the events that took place in 19 this is a traumatic thing to do, but
20 March of 2016? 20 unfortunately l have to do it.
21 A. When you say some things, then 21 MR. TERZIGNI: Thanks John.
22 that's like terms, that's considered hearsay, 22 We'll read.
23 right? I mean, so why even say it, you know, 23 -----
24 what you hear and what you -» you know. 24
25 Q. I'm not talking aboutjust sort of 25
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1 (Signature not waived.) 1 DEPOSITION ERRATA SHEET
2 (There being no further 2 Page No._Line No._Change to:_
3 questions, the deposition concluded at 11:05 a.m.) 3
4 _____ 4 Reason for change:
5 5 Page No. Line No.___Change to:_
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10 10 Reason for change:_
11 11 Page No. Line No._Change to:
12 12
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23 24 sIGNATuRE: DATE:
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vs. 4 Reason for change:
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7 oEcLARATIoN uNDER PENALTY oF PERJuRY 7 Reason for Chenge=
8 I declare under penalty efPerjury 8 Page No. Line No._change to:
9 that I have read the entire transcript of my g
10 Deposition taken in the captioned matter or the 10 R f h _
11 same has been read to me, and the same is true eason or C 3119€‘_---_
12 and accurate, save and except for changes 11 Page NO- Llne NO-_Change to:_
13 and/or corrections, if any, as indicated by me 12
14 on the oEPosITIoN ERRATA sHEET hereof, with the 13 Reason for Change:
15 understanding that l offer these changes as if . _
16 still under oath. In all other respects the 14 Page N°'-_Lme No'_Change to'_
17 transcript is true and correct. 15
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21 Subscribed and sworn to before me this 20 Page No. Line No._Change to:
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2 COMMONWEALTH OF PENNSYLVANIA)
COUNTYOFALLEGHENY )

3

4 I,Diane G.Galvin,anotary public in
and for the Commonwea|th of Pennsy|vania, do

5 hereby certify that the witness, Jgag Lawniczak,
was by me first duly sworn to testify the

6 truth, the whole truth, and nothing but the
truth; that the foregoing deposition was taken

7 at the time and place stated herein; and that
the said deposition was recorded

8 stenographically by me and then reduced to
typewrlting under my direction, and constitutes

9 a true record of the testimony given by said
witness, alito the best of my skill and

10 ability.

11 Ifurther certify thatthe inspection,
reading and signing of said deposition were not

12 waived by counselfor the respective parties
and by the witness and if after 30 days the

13 transcript has not been signed by said witness
that the witness received notification and has

14 failed to respond and the deposition may then
be used as though signed.

15

Ifurther certify thatIam note

16 relative,or employee ofeither counsel,and
that I am in no way interested, directly or

17 indirectly, in this action.

18 INWITNESSWHEREOF,Ihave hereunto
set my hand and affixed my seal ofoffice this

19 6th day of February, 2018.

20 s/DIANE G.GALVIN

21 --------------------------------

22

23

24

25

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